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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 RACHEL GNIEWKOWSKI,
                                                                Case No.
                        Plaintiff,

        v.                                                      Filed Electronically

 PPG INDUSTRIES, INC.,

                        Defendant.

              COMPLAINT FOR PERMANENT INJUNCTION
  REQUIRING CHANGES TO CORPORATE POLICY AND THE ELIMINATION OF
      DIGITAL ACCESS BARRIERS PURSUANT TO 42 U.S.C. § 12188(a)(2)

       Rachel Gniewkowski (“Plaintiff”) seeks a permanent injunction requiring a change in PPG

Industries, Inc.’s (“Defendant” or the “Company”) corporate polices to cause Defendant’s websites

to become, and remain, accessible. In support thereof, Plaintiff asserts as follows:

                                         INTRODUCTION

       1.      Plaintiff brings this action against Defendant and asserts that its website is not

accessible to blind and visually impaired consumers in violation of Title III of the Americans with

Disabilities Act, 42 U.S.C. § 12101 et seq. (the “ADA”). Plaintiff seeks a permanent injunction to

cause a change in Defendant’s corporate policies related to its web-based technologies so that

Defendant’s Websites (defined herein) will become, and will remain, accessible. The Websites at

issue are the following:             www.ppgpaints.com, www.ppghighperformancecoatings.com,

www.ppgpittsburghpaints.com,            www.ppgporterpaints.com,        www.ppgvoiceofcolor.com,

www.disney.glidden.com,               www.pittsburghpaintsandstains.com,           www.flood.com,

www.glidden.com, www.homaxproducts.com, www.liquidnails.com, www.nauticapaint.com,

www.olympic.com,        www.perfectwoodstains.com,        and     www.ppgpaintsarena.com       (the

“Websites”).
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       2.      While the increasing pervasiveness of digital information presents an

unprecedented opportunity to increase access to goods and services for people with perceptual

disabilities, website developers and web content developers often implement digital technologies

without regard to whether those technologies can be accessed by individuals with disabilities. This

is notwithstanding the fact that accessible technology is readily available and cost effective.

       3.      Blind and visually impaired consumers must use screen reading software or other

assistive technologies in order to access website content. Defendant’s Websites contain digital

barriers which limit the ability of blind and visually impaired consumers to access its many pages.

       4.      Plaintiff has attempted to patronize Defendant’s Websites in the past, and will

attempt again in the future in order to utilize all of the services Defendant offers and to ensure the

Websites’ compliance with the ADA. However, unless Defendant is required to eliminate the

access barriers at issue and required to change its policies so that access barriers do not reoccur on

Defendant’s Websites, Plaintiff will continue to be denied full access to the Websites as described,

and will be deterred from fully using Defendant’s Websites.

       5.      The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks

in this action. In relevant part, the ADA requires:

               In the case of violations of . . . this title, injunctive relief shall include
               an order to alter facilities to make such facilities readily accessible
               to and usable by individuals with disabilities….Where appropriate,
               injunctive relief shall also include requiring the . . . modification of
               a policy. . .

42 U.S.C. § 12188(a)(2).

       6.      Because Defendant’s Websites have never been accessible and because Defendant

does not have, and has never had, a corporate policy that is reasonably calculated to cause its




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Websites to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a

permanent injunction requiring:

             a) that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually
                Agreed Upon Consultant”) and who shall assist it in improving the accessibility of
                its Websites so they comply with version 2.0 of the Web Content Accessibility
                Guidelines (“WCAG 2.0 AA”);

             b) that Defendant work with the Mutually Agreed Upon Consultant to ensure that all
                employees involved in website development and content development be given
                web accessibility training on a periodic basis calculated to achieve ongoing
                compliance with WCAG 2.0 AA;

             c) that Defendant work with the Mutually Agreed Upon Consultant to perform an
                automated accessibility audit on a periodic basis to evaluate whether Defendant’s
                Websites continue to comply with WCAG 2.0 AA on an ongoing basis;

             d) that Defendant work with the Mutually Agreed Upon Consultant to perform end-
                user accessibility/usability testing on a periodic basis with said testing to be
                performed by individuals with various disabilities to evaluate whether Defendant’s
                Websites continue to comply with WCAG 2.0 AA on an ongoing basis; and,

             e) that Defendant work with the Mutually Agreed Upon Consultant to create an
                accessibility policy that will be posted on its Websites, along with an e-mail address
                and toll free phone number to report accessibility-related problems.1

                                JURISDICTION AND VENUE

       7.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 and 42

U.S.C. § 12188.

       8.       Plaintiff Gniewkowski’s claims asserted herein arose in this judicial district.




1
  Web-based technologies have features and content that are modified on a daily, and in some
instances an hourly, basis, and a one time “fix” to an inaccessible website will not cause the website
to remain accessible without a corresponding change in corporate policies related to those web-
based technologies. To evaluate whether an inaccessible website has been rendered accessible, and
whether corporate policies related to web-based technologies have been changed in a meaningful
manner that will cause the website to remain accessible, the website must be reviewed on periodic
basis using both automated accessibility screening tools and end user testing by disabled
individuals.

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       9.      Defendant purposefully targets and otherwise solicits business from Pennsylvania

residents through its Websites and store locations. Because of this targeting, it is not unusual for

Defendant to conduct business with Pennsylvania residents. In fact, the opposite is true: Defendant

derives substantial revenue from transactions in Pennsylvania, having more than a slight effect on

the state’s commerce as a result.

       10.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2) in

that this is the judicial district in which Defendant resides and the judicial district in which a

substantial part of the acts and omissions giving rise to the claims occurred.

                                              PARTIES

       11.     Plaintiff Gniewkowski is and, at all times relevant hereto, has been a resident of

Allegheny County, Pennsylvania. Plaintiff Gniewkowski is and, at all times relevant hereto, has

been legally blind and is therefore a member of a protected class under the ADA, 42 U.S.C. §

12102(2) and the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

       12.     Defendant PPG Industries, Inc. is a Pennsylvania corporation with its principal

place of business located in Pittsburgh, Pennsylvania. Defendant is a global supplier of paints,

coatings, and special materials. Through Defendant’s websites, consumer can search various types

paint and stain products by name or number, sign up for email updates and receive new promotions,

products, and services relevant to their needs, use Defendant’s color visualizer to digitally paint

their room or project, or play Defendant’s Color Game to determine what colors fit their

personality. Defendant owns, operates, and maintains brick and mortar locations across the United

States, including several within the Western District of Pennsylvania.

       13.     Defendant’s brick and mortar locations and Website are integrated and are public

accommodations pursuant to 42 U.S.C. § 12181(7).



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                               FACTUAL BACKGROUND

       14.     The internet has become a significant source of information and a means for

conducting everyday activities such as shopping, banking, education, and entertainment for both

sighted and blind and visually-impaired persons, as well as individuals with other perceptual or

motor disabilities.

       15.     Individuals with vision related disabilities may access websites by using keyboards

in conjunction with screen reader software that converts text to audio. Screen reader software

provides the primary method by which a blind person may independently use the internet. Unless

websites are designed to be read by screen reader software, blind individuals are unable to fully

access websites and the information, products and services available through the sites.

       16.     Defendant’s Websites offer various services to help consumers choose the design

and specifics of their project, view product descriptions, receive design ideas, and learn where to

find the products they need. Consumers can also use the Websites to contact customer service,

connect with Defendant through social media, and to locate Defendant’s store locations.

       17.     Plaintiff is permanently blind and uses screen reader software in order to access the

internet and read website content.

       18.     Plaintiff has visited the Websites and have been denied the full use and enjoyment

of the facilities, goods, and services available on the Websites as a result of access barriers.

       19.     The Websites’ barriers have previously denied Plaintiff full and equal access to all

of the services Defendants’ Websites offer, and now deter Plaintiff from attempting to use

Defendant’s Websites in the future.

       20.     Despite her permanent disability, Plaintiff is ready, able, and intends to visit

Defendant’s Websites once they are made compliant. Plaintiff’s disability, and the challenges



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Plaintiff faces in physically traveling to and shopping in traditional brick-and-mortar retailers as a

result of it, make it particularly likely that Plaintiff will return to Defendant’s Websites in the future

to purchase Defendant’s goods from the comfort of her home, or testing them for compliance.

        21.     As a result of having visited Defendant’s Websites in the past, and of investigations

performed on Plaintiff’s behalf, Plaintiff is aware that Defendant’s Websites include at least the

following access barriers:

                a) A text equivalent for every non-text element is not provided;

                b) Information about the meaning and structure of content is not conveyed by more

                    than the visual presentation of content;

                c) Not all functionality of the content is operable through a keyboard interface

                    without requiring specific timings for individual keystrokes, except where the

                    underlying function depends on the path of the user’s movement;

                d) If the content enforces a time limit, the user is not always able to extend, adjust

                    or disable it unless the time limit is part of a real time activity or would

                    invalidate the activity;

                e) A mechanism is not always available to bypass blocks of content that are

                    repeated on multiple web pages;

                f) Web pages lack titles that describe their topic or purpose;

                g) The purpose of each link cannot be determined from the link text alone or from

                    the link text and its programmatically determined link context;

                h) The default human language of each Web page cannot be programmatically

                    determined;




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                  i) Changing the setting of any user interface component may automatically cause

                       a change of context unless the user has been informed before using the

                       component;

                  j) Labels or instructions are not always provided when content requires user input;

                  k) The name and role of all UI elements cannot be programmatically determined;

                       things that can be set by the user cannot be programmatically set; and/or

                       notification of changes to these items is not available to user agents, including

                       assistive technology.

         22.      If the Websites were accessible, i.e. if Defendant removed these barriers, Plaintiff

could independently shop for and research products via Defendant’s Websites.

         23.      Though Defendant has centralized policies regarding the maintenance and

operation of its Websites, Defendant has never had a plan or policy that is reasonably calculated

to make its Websites fully accessible to, and independently usable by, individuals with vision

related disabilities. As a result, the complained of architectural barriers are permanent in nature

and likely to persist.

         24.      The law requires that Defendant reasonably accommodate Plaintiff’s disability by

removing these existing access barriers. Removal of the barriers identified above is readily

achievable and may be carried out without much difficulty or expense.

         25.      Removal of these barriers would make Defendant’s Websites accessible to Plaintiff

and to 3.4 million2 blind Americans, allowing them to independently research products via

Defendant’s Websites, and access Defendant’s online services.


2
 “More than 3.4 million (3%) Americans aged 40 years and older are either legally blind (having visual acuity [VA]
of 20/200 or worse or a visual field of less than 20 degrees) or are visually impaired (having VA of 20/40 or less) (Eye
Diseases Prevalence Research Group, 2004).” Centers for Disease Control and Prevention, “The Burden of Vision
Loss.” https://www.cdc.gov/visionhealth/basic_information/vision_loss_burden.htm (last accessed 02/24/2017)

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       26.     Plaintiff’s above request for injunctive relief is consistent with the work performed

by the United States Department of Justice, Department of Transportation, U.S. Architectural and

Transportation Barriers Compliance Board (the “Access Board”), and numerous federal courts, all

of whom have relied upon or mandated that the public-facing pages of websites comply with an

international compliance standard known as Web Content Accessibility Guidelines version 2.0

AA (“WCAG 2.0 AA”), which is published by an independent third party known as the Worldwide

Web Consortium (“W3C”). Available at https://www.w3.org/ (last visited February 27, 2017).

       27.     The Department of Justice utilizes the WCAG 2.0 Standards as a benchmark for

satisfying the requirements of 42 U.S.C. §§ 12182(a) and 12182(b)(2)(A)(iii). See, e.g.,

Nondiscrimination on the Basis of Disability, Accessibility of Web Information and Services of

State and Local Government Entities and Public Accommodations, 75 Fed. Reg. 43460, 43465

(July 26, 2010) (stating that WCAG 2.0 Guidelines provide "recognized voluntary international

guidelines for Web accessibility").

       28.     The Department of Transportation adopted a Final Rule on November 12, 2013

requiring U.S. and foreign air carriers to conform their websites’ public-facing pages to the WCAG

2.0 AA standards by December 12, 2016.

       29.     The Access Board published a Final Rule on January 18, 2017 requiring all

websites and electronic content of federal agencies to conform to the WCAG 2.0 AA standards

within one year.

       30.     Without the injunctive relief sought herein, Plaintiff and other individuals with

vision related disabilities will continue to be unable to independently use the Websites in violation

of their rights under the ADA.




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                                 SUBSTANTIVE VIOLATION
                        (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

       31.     The allegations contained in the previous paragraphs are incorporated by reference.

       32.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No

individual shall be discriminated against on the basis of disability in the full and equal enjoyment

of the goods, services, facilities, privileges, advantages or accommodations of any place of public

accommodation by any person who owns, leases (or leases to), or operates a place of public

accommodation.” 42 U.S.C. § 12182(a).

       33.     Defendant’s Websites are a public accommodation within the definition of Title III

of the ADA, 42 U.S.C. § 12181(7).

       34.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).

       35.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages or accommodations, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. §12182(b)(1)(A)(ii).

       36.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things: “a failure to make reasonable modifications in policies, practices or

procedures, when such modifications are necessary to afford such goods, services, facilities,

privileges, advantages or accommodations to individuals with disabilities, unless the entity can

demonstrate that making such modifications would fundamentally alter the nature of such goods,

services, facilities, privileges, advantages or accommodations; and a failure to take such steps as

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may be necessary to ensure that no individual with a disability is excluded, denied services,

segregated or otherwise treated differently than other individuals because of the absence of

auxiliary aids and services, unless the entity can demonstrate that taking such steps would

fundamentally alter the nature of the good, service, facility, privilege, advantage or

accommodation being offered or would result in an undue burden.” 42 U.S.C. §

12182(b)(2)(A)(ii)-(iii); see also 28 C.F.R. § 36.303(a).

       37.     Title III requires that “[a] public accommodation shall furnish appropriate auxiliary

aids and services where necessary to ensure effective communication with individuals with

disabilities.” 28 C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of “auxiliary

aids and services,” including “…accessible electronic and information technology; or other

effective methods of making visually delivered materials available to individuals who are blind or

have low vision.” 28 C.F.R. § 36.303(b).

       38.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is blind and has a disability that substantially

limits the major life activities of seeing within the meaning of 42 U.S.C. §§ 12102(1)(A) and

(2)(A), has been denied full and equal access to the Websites. Plaintiff has not been provided

services that are provided to other patrons who are not disabled, and/or have been provided services

that are inferior to the services provided to non-disabled persons. Defendant has failed to take any

prompt and equitable steps to remedy its discriminatory conduct. These violations are ongoing.

       39.     Plaintiff’s claims are warranted by existing law or by non-frivolous argument for

extending, modifying, or reversing existing law or for establishing new law.

       40.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth

and incorporated therein, Plaintiff requests relief as set forth below.



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                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:

       a.       A Declaratory Judgment that at the commencement of this action Defendant was in
                violation of the specific requirements of Title III of the ADA described above, and
                the relevant implementing regulations of the ADA, in that Defendant took no action
                that was reasonably calculated to ensure that its Websites are fully accessible to,
                and independently usable by, blind individuals;

       b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504
                (a) which directs Defendant to take all steps necessary to bring its Websites into
                full compliance with the requirements set forth in the ADA, and its implementing
                regulations, so that its Websites are fully accessible to, and independently usable
                by, blind individuals, and which further directs that the Court shall retain
                jurisdiction for a period to be determined to ensure that Defendant has adopted and
                is following an institutional policy that will in fact cause Defendant to remain fully
                in compliance with the law—the specific injunctive relief requested by Plaintiff is
                described more fully in Paragraph 6 above;

       c.       Payment of costs of suit;

       d.       Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR
                § 36.505; and

       e.       The provision of whatever other relief the Court deems just, equitable and
                appropriate.

Dated: April 12, 2017                                  Respectfully Submitted,

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